     Case: 1:22-cv-01048 Document #: 8 Filed: 04/26/22 Page 1 of 1 PageID #:19

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                Eastern Division

Susan Phillips, et al.
                                      Plaintiff,
v.                                                       Case No.: 1:22−cv−01048
                                                         Honorable Andrea R. Wood
The United States of America
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 26, 2022:


         MINUTE entry before the Honorable Andrea R. Wood: At the request of counsel,
the initial telephone status hearing in this matter is reset to 7/6/22 at 9:15 a.m. To ensure
public access to court proceedings, members of the public and media may call in to listen
to telephonic hearings. The call−in number is (888) 557−8511 and the access code is
3547847. Counsel of record will receive an email 30 minutes prior to the start of the
telephonic hearing with instructions to join the call. Persons granted remote access to
proceedings are reminded of the general prohibition against photographing, recording, and
rebroadcasting of court proceedings. Violation of these prohibitions may result in
sanctions, including removal of court−issued media credentials, restricted entry to future
hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
the Court. The parties are directed to meet and conduct a planning conference pursuant to
Federal Rule of Civil Procedure 26(f). At least seven days before the initial status hearing,
the parties shall file a joint written status report, not to exceed five pages in length. The
initial status report shall provide the information described on the Court's website at
www.ilnd.uscourts.gov under District Judges, Judge Andrea R. Wood, Initial Status
Conference. Notices mailed. (psm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
